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                                           8/20/2020 4:05 PM
                                              20CV28918


   1
   2
   3
   4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
   5                             FOR THE COUNTY OF WASHINGTON
   6    CITY OF BEAVERTON, an Oregon
        municipal corporation,                                           No.____________________
   7
                                                Plaintiff,
   8                                                                                 COMPLAINT
                               vs.                                (Action to Collect Fees; Interest)
   9
                                                                        (Not Subject to Mandatory
  10    COMCAST OF OREGON II, INC., an                                     Arbitration – Prayer of
        Oregon corporation,                                                             $3,750,000)
  11
                                             Defendant.           Fee Authority: ORS 21.160(1)(d)
  12
  13          Plaintiff City of Beaverton, a municipal corporation of the State of Oregon, alleges as
  14   follows:
  15                                          INTRODUCTION
  16                                                   1.
  17          No corporation is above the law. All companies, large and small, must pay their fair
  18   share in supporting the infrastructure that allows their entities to operate. Out of respect for
  19   the rule of law and in the spirit of this basic principle of fairness, the City of Beaverton
  20   brings this action against Comcast.
  21                                                   2.
  22          In 2016, the City of Beaverton enacted Ordinance No. 4684, a comprehensive
  23   ordinance addressing utility facilities in the City’s rights-of-way (“ROW Ordinance”). The
  24   ROW Ordinance is codified as Chapter 4.15 of the Beaverton Code (“BC”). By enacting the
  25   ROW Ordinance, the City ensures that the City’s current and ongoing costs of granting and
  26   regulating access to and the use of the rights-of-way are fully compensated by the persons


Page   1-     COMPLAINT
                                                                                              MARKOWITZ HERBOLD PC
                                                                                              1455 SW BROADWAY, SUITE 1900
                                                                                                PORTLAND, OREGON 97201
                                                                                                      (503) 295-3085

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   1   and entities seeking such access and causing such costs. BC 4.15.020(B). The City’s
   2   enactment of the ROW Ordinance likewise ensures that all utility companies and other
   3   entities providing services within the City comply with the City’s ordinances, rules and
   4   regulations. BC 4.15.020(D).
   5                                                  3.
   6          For decades Comcast has provided cable television (video) to Comcast customers
   7   within the City. Comcast has regularly paid the City’s current and ongoing costs of granting
   8   and regulating access to and the use of the rights-of-way for cable television. Accordingly,
   9   this action does not seek to collect on those fees because Comcast has paid them. However,
  10   starting in the 1990’s, technology developed allowing Comcast to provide phone (voice) and
  11   internet services to Comcast customers within the City. At first, the City did not charge
  12   Comcast for the increased cost to the City of granting and regulating access to and the use of
  13   rights-of-way for voice and internet services to Comcast customers within the City. As
  14   demand for voice and internet services increased in the 2000’s, however, Comcast’s presence
  15   in the rights-of-way became greater and greater.
  16                                                  4.
  17          Prior to the enactment of the ROW Ordinance in 2016, Comcast provided comments,
  18   asked questions and otherwise actively participated in public discussions about the proposed
  19   new ordinance.
  20                                                  5.
  21          For nearly three years following the enactment of BC 4.15, Comcast refused to pay in
  22   full for its use of the City’s rights-of-way. Comcast has paid the rights-of-way fees for cable
  23   television (video), pursuant to the 2015 contract between the parties entitled, ‘Cable
  24   Television Franchise Agreement Between the Jurisdictions participating in the Metropolitan
  25   Area Communications Commission and Comcast of Oregon II, Inc.” But Comcast has not
  26   paid the rights-of-way fees for phone (voice) or internet services under the ROW Ordinance


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                                                                                            MARKOWITZ HERBOLD PC
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   1   which is codified as BC 4.15. Comcast owes the City 5% of its gross revenue from voice and
   2   internet services provided in the City from October 2016 to June 2019. Comcast is in default
   3   for failing to pay the 5% fee. This lawsuit is intended to enforce BC 4.15 against Comcast
   4   for the due but unpaid rights-of-way-fee.
   5                                               PARTIES
   6                                                 6.
   7           Plaintiff City of Beaverton (“the City”) is an Oregon municipal corporation.
   8                                                 7.
   9          Defendant Comcast of Oregon II, Inc. (“Comcast”) is an Oregon corporation,
  10   registered and doing business in Washington County, that operates and provides services to
  11   customers in Beaverton, Oregon.
  12                                 VENUE AND JURISDICTION
  13                                                 8.
  14          The Circuit Court of the State of Oregon has subject matter jurisdiction pursuant to
  15   ORS 30.315.
  16                                                 9.
  17          A substantial portion of the events giving rise to this action arose in Washington
  18   County, Oregon.
  19                                   FACTUAL ALLEGATIONS
  20                                                 10.
  21          In 1906, Oregon voters approved the “Home Rule Amendment” to the Oregon
  22   Constitution. Article XI, section 2, of the Oregon Constitution allows cities to claim
  23   extensive lawmaking authority through their municipal charters.
  24                                                 11.
  25          Beaverton City Charter Chapter 2, section 4, Power of the City, provides: “The city
  26   shall have all powers which the constitutions, statutes, and common law of the United States


Page   3-     COMPLAINT
                                                                                           MARKOWITZ HERBOLD PC
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   1   and of this state expressly or impliedly grant or allow municipalities, as fully as though this
   2   charter specifically enumerated each of those powers.”
   3                                                   12.
   4          Pursuant to Article XI, section 2, of the Oregon Constitution and Chapter 2, section 4
   5   of the Beaverton Charter, the City has the legal authority to enact and enforce the ROW
   6   Ordinance.
   7                                               13.
              The City may take all action necessary or convenient for the government of its local
   8
       affairs, unless limited by an express provision or necessary implication of general law. ORS
   9
       221.410.
  10
                                                       14.
  11
              The City is authorized to regulate use of its municipally-owned rights-of-way, and to
  12
       impose charges upon publicly-owned suppliers of electrical energy, as well as privately-
  13
       owned suppliers for the use of such rights-of-way. ORS 221.415.
  14
                                                       15.
  15
              The City has the power to determine by contract, ordinance, or other means, the terms
  16
       and conditions upon which any telecommunications carrier may occupy public property
  17
       within the City. ORS 221.510(2).
  18
                                                       16.
  19
              BC 4.15 is intended to: (1) establish clear guidelines, standards, and requirements for
  20
       all utilities that request to operate within the City's boundaries; (2) ensure local authority to
  21
       manage the rights-of-way for the health and safety of local residents; and (3) ensure adequate
  22
       compensation to local taxpayers for private use of publicly-owned rights-of-way.
  23
                                                       17.
  24
              BC 4.15 defines rights-of-way to mean and include “the space in, upon, above, along,
  25
       across, over or under the public streets, roads, highways, lanes, courts, ways, alleys,
  26
       boulevards, bridges, trails, paths, sidewalks, bicycle lanes, public utility easements and all

Page   4-     COMPLAINT
                                                                                               MARKOWITZ HERBOLD PC
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                                                                                                PORTLAND, OREGON 97201
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   1   other public ways or areas, including the subsurface under and air space over these areas[.]”
   2   BC 4.15.050(K).
   3                                                    18.
   4           Under BC 4.15, no person may engage in any utility services in the City without first
   5   registering with the City and paying an annual registration fee (the “Registration Fee”). BC
   6   4.15.060.
   7                                                    19.
   8           Pursuant to BC 4.15.130 (the “ROW Fee”), “[E]very person that owns utility
   9   facilities in the City and every person that uses utility facilities in the City to provide utility
  10   service, whether or not the person owns the utility facilities used to provide the utility
  11   services, shall pay the rights-of-way fee for every utility service provided using the rights-of-
  12   way in the amount determined by resolution of the City Council.”
  13                                                    20.
  14           “Person” means and includes “any individual, firm, sole proprietorship, corporation,
  15   company, partnership, co-partnership, joint-stock company, trust, limited liability company,
  16   association, local service district, governmental entity or other organization, including any
  17   natural person or any other legal entity.” BC 4.15.050(G). Comcast, as a corporation, is a
  18   “person” under BC 4.15.
  19                                                    21.
  20           “Utility service” means “the provision, by means of utility facilities permanently
  21   located within, under or above the rights-of-way, whether or not such facilities are owned by
  22   the service provider, of electricity, natural gas, communications services, cable services,
  23   water, sewer or storm sewer to or from customers within the corporate boundaries of the
  24   City, or the transmission of any of these services through the City whether or not customers
  25   within the City are served by those transmissions.” BC 4.15.050(O) (emphasis added). As
  26   outlined below, Comcast provides “utility service” in the City using the City’s rights-of-way.


Page   5-      COMPLAINT
                                                                                                 MARKOWITZ HERBOLD PC
                                                                                                1455 SW BROADWAY, SUITE 1900
                                                                                                  PORTLAND, OREGON 97201
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   1                                                  22.
   2          “Cable service” is defined as “the one-way transmission to subscribers of: (1) video
   3   programming, or (2) other programming service; and subscriber interaction, … which is
   4   required for the selection or use of such video programming or other programming service.”
   5   BC 4.15.050(A). Comcast provides “cable service” as defined in BC 4.15.050(A). To date,
   6   Comcast has paid in full the rights-of-way fee for its cable services.
   7                                                  23.
   8          “Communications services” means “any service provided for the purpose of
   9   transmission of information including, but not limited to, voice, video or data, without regard
  10   to the transmission protocol employed, whether or not the transmission medium is owned by
  11   the provider itself.” BC 4.15.050(E).
  12                                                  24.
  13          “Communications services” also “includes all forms of telephone services and voice,
  14   video, data or information transport, but does not include: (1) cable service; (2) open video
  15   system service, as defined in 47 C.F.R. 76; (3) over-the-air radio or television broadcasting to
  16   the public-at-large from facilities licensed by the Federal Communications Commission or
  17   any successor thereto; (4) public communications systems; and (5) direct-to-home satellite
  18   service within the meaning of Section 602 of the Telecommunications Act.” BC
  19   4.15.050(E). Comcast provides “communications services” as defined in BC 4.15.050(E).
  20   Specifically, Comcast’s voice and internet services are “communications services.” To date,
  21   Comcast has not paid in full the rights-of-way fee for its communications services.
  22                                                  25.
  23          Unless otherwise agreed to in writing by the City, the ROW Fee must be paid
  24   quarterly, in arrears, for each quarter during the term of the license within 30 days after the
  25   end of each calendar quarter, and shall be accompanied by an accounting of gross revenues,
  26   if applicable, and a calculation of the amount payable. BC 4.15.130(B).


Page   6-     COMPLAINT
                                                                                             MARKOWITZ HERBOLD PC
                                                                                             1455 SW BROADWAY, SUITE 1900
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   1                                                 26.
   2          Comcast has not remitted its full ROW Fee payments to the City for voice and
   3   internet services for the period of October 1, 2016 to June 30, 2019.
   4                                                 27.
   5          Comcast has remitted ROW Fee payments to the City for voice and internet services
   6   for the periods of July 1, 2019 to September 30, 2019; October 1, 2019 to December 31,
   7   2019; and January 1, 2020 to March 31, 2020, in the amounts of $327,988.35, $354,651.06,
   8   and $380,666.19, respectively. Upon information and belief, Comcast paid these quarters
   9   because it began passing along the fee to its customers at that time. However, Comcast
  10   refuses to pay past-amounts due that it did not extract from its customers.
  11                                                 28.
  12          The City has demanded that Comcast pay all amounts in arrears under BC Chapter
  13   4.15, including the ROW Fee. Comcast has not paid these amounts. Upon information and
  14   belief, Comcast owes the City not less than $3.75 million in unpaid ROW Fees, exclusive of
  15   interest and penalties.
  16                                  FIRST CLAIM FOR RELIEF
  17                                           (ORS 30.315)
  18                                                 29.
  19          The City realleges paragraphs 1 through 28 above.
  20                                                 30.
  21          In providing its “utility services,” which include “communications services,” to the
  22   residents of the City, Comcast uses the City’s rights-of-way.
  23                                                 31.
  24          Pursuant to BC 4.15.130, as a person that uses utility facilities in the City to provide
  25   utility service, Comcast must pay the ROW Fee for every utility service provided using the
  26   rights-of-way.


Page   7-     COMPLAINT
                                                                                            MARKOWITZ HERBOLD PC
                                                                                            1455 SW BROADWAY, SUITE 1900
                                                                                              PORTLAND, OREGON 97201
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   1                                                 32.
   2          Comcast has failed to make all payments for its use of the City’s rights-of-way
   3   between October 2016 and June 2019, a period of 32 months.
   4                                                 33.
   5          The City is entitled to collect from Comcast the sum of not less than $3.75 million as
   6   the unpaid ROW Fee, for the period of October 2016 through June 2019.
   7                                SECOND CLAIM FOR RELIEF
   8                                             (Interest)
   9                                                 34.
  10          The City realleges paragraphs 1 through 33 above.
  11                                                 35.
  12          The ROW Fee shall be paid quarterly, in arrears, for each quarter during the term of
  13   the license within 30 days after the end of each calendar quarter, unless otherwise agreed to
  14   in writing by the City. BC 4.15.130(F).
  15                                                 36.
  16          As a person “who owns, places, operates or maintains a utility facility within the
  17   City,” Comcast is a utility operator. BC 4.15.050(N).
  18                                                 37.
  19          Pursuant to BC 4.15.130(D), a utility operator shall pay interest at a rate of nine
  20   percent (9%) per year for any payment made after the due date.
  21                                                 38.
  22          Comcast has failed to make all payments for its use of the City’s rights-of-way
  23   between October 2016 and June 2019, a period of 32 months.
  24                                                 39.
  25          Pursuant to BC 4.15.130(D), Comcast is required to pay interest, at a rate of .75 %
  26   per month on the ROW Fee, from the date each payment was due until paid.


Page   8-     COMPLAINT
                                                                                            MARKOWITZ HERBOLD PC
                                                                                            1455 SW BROADWAY, SUITE 1900
                                                                                              PORTLAND, OREGON 97201
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   1                                                    40.
   2             As of the date of this complaint, the total interest owed by Comcast for its failure to
   3   pay the ROW Fee is not less than $625,000.
   4                                        PRAYER FOR RELIEF
   5             WHEREFORE, plaintiff requests that this Court:
   6        1. Enter judgment against Comcast for payment of the ROW Fee on the City’s first
   7             claim for relief in the amount of not less than $3.75 million, or such other amount as
   8             may be shown at trial;
   9        2. Enter judgment against Comcast for prejudgment interest on the City’s second claim
  10             for relief in the amount of .75% per month on the ROW Fee, from the date each
  11             payment was due until judgment in this matter; and
  12        3. Award the City such other relief as may be just and equitable in the circumstances.
  13
                 DATED this 20th day of August, 2020.
  14
  15                                            MARKOWITZ HERBOLD PC
  16
                                                By:    s/ Laura Salerno Owens
  17                                                   Laura Salerno Owens, OSB #076230
                                                       LauraSalerno@MarkowitzHerbold.com
  18                                                   Anna Marie Joyce, OSB #013112
                                                       AnnaJoyce@MarkowitzHerbold.com
  19                                                   Anthony Blake Jr., OSB #163446
                                                       AnthonyBlake@MarkowitzHerbold.com
  20
                                                       Trial Attorney: Laura Salerno Owens
  21
                                                       Of Attorneys for Plaintiff City of Beaverton
  22   1031890

  23
  24
  25
  26


Page   9-        COMPLAINT
                                                                                               MARKOWITZ HERBOLD PC
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                                                                                                 PORTLAND, OREGON 97201
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                                                                            20CV28918

                                                  In the Circuit Court of the State of Oregon
                                                        For the County of Washington
 CITY OF BEAVERTON, an Oregon municipal                                                    )     No. 20CV28918
 corporation,                                                                              )
                                       Plaintiff,                                          )     SUMMONS
                    vs.                                                                    )
 COMCAST OF OREGON II, INC., an Oregon                                                     )
 corporation,                                                                              )
                                     Defendant.                                            )

 TO:       Comcast of Oregon II, Inc.
           c/o Mark P. Trinchero
           Davis Wright Tremaine LLP
           1300 SW Fifth Avenue, Suite 2400
           Portland, OR 97201                                                                                                                  Defendant

        You are hereby required to appear and defend the complaint filed against you in the above-entitled action within thirty
(30) days from the date of service of this summons upon you, and in case of your failure to do so, for want thereof, plaintiff(s)
will apply to the court for the relief demanded in the complaint.
  NOTICE TO THE DEFENDANT: READ THESE PAPERS CAREFULLY!

         You must “appear” in this case or the other side will win automatically. To           SIGNATURE OF ATTORNEY/AUTHOR FOR PLAINTIFF
  “appear” you must file with the court a legal document called a “motion” or
  “answer.” The “motion” or “answer” must be given to the court clerk or
  administrator within 30 days along with the required filing fee. It must be in               Laura Salerno Owens                                           076230
  proper form and have proof of service on the plaintiff’s attorney or, if the plaintiff
  does not have an attorney, proof of service upon the plaintiff.                              ATTORNEY'S/AUTHOR'S NAME (TYPED OR PRINTED)             BAR NO. (IF ANY)
         If you have any questions, you should see an attorney immediately. If you
  need help in finding an attorney, you may contact the Oregon State Bar’s Lawyer
  Referral Service online at www.oregonstatebar.org or by calling (503) 684-3763
  (in the Portland metropolitan area) or toll-free in Oregon at (800) 452-7636.
                                                                                               TRIAL ATTORNEY IF OTHER THAN ABOVE (TYPED OR PRINTED)           BAR NO.




 STATE OF OREGON                                              )
                                                                ss.
 County of Multnomah                                          )

     I, the undersigned attorney of record for the plaintiff, certify that the foregoing is an exact and complete copy of the
original summons in the above-entitled action.

                                                                                           ATTORNEY OF RECORD FOR PLAINTIFF(S)




TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy of this
summons, together with a true copy of the complaint mentioned therein, upon the individual or other legal entity to whom or
which this summons is directed, and to make your proof of service on the reverse hereof or upon a separate similar document
which you shall attach hereto.

                                                                                           ATTORNEY(S) FOR PLAINTIFF(S)


                MARKOWITZ HERBOLD PC
               1455 SW Broadway, Suite 1900
                    Portland, OR 97201
                      (503) 295-3085




                                                                                                        EXHIBIT 1, Page 10 of 13
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                                                           PROOF OF SERVICE
STATE OF _____________________________             )
                                                   ) ss.
County of ______________________________           )

      I hereby certify that I made service of the foregoing summons upon by delivering or leaving true copies of said summons and the complaint mentioned
therein, certified to be such by the attorney for the plaintiff, as follows:


   Personal Service Upon Individual                         By delivering such true copy to him/her, personally and in person at
                                                                                                                                                                      ,
                                                            on              , 20        , at           o'clock      M.

   Substituted Service Upon Individual                      By delivering such true copy at his/her dwelling house or usual place of abode, to-wit:
                                                                                                                                                          ,
                                                            to                                                                                            ,
                                                            who is a person over the age of 14 years and a member of the household of the person served on
                                                            , 20    , at      o'clock    M.

   Office Service Upon Individual                           At the office which he/she maintains for the conduct of business at
                                                                                                                                                                      ,
                                                            by leaving such true copy with
                                                                                                                                                         , the person
                                                            who is apparently in charge, on                      , 20         , at    o'clock   M.

   Service on Corporations, Limited                         (a)   By delivering such true copy, personally and in person to
   Partnerships or Unincorporated                                                                                                                       , who is a/the
                                                                                                thereof; OR
   Associations Subject to Suit Under a
   Common Name                                              (b)   By leaving such true copy with                                                                      ,
                                                                  the person who is apparently in charge of the office of
                                                                                                                                                                      ,
                                                                  who is a/the                                   thereof;


                                                            at                                                                                                        ,
                                                            on                   , 20          , at       o'clock        M.

   DATED                       , 20   .

                                                                   I further certify that I am a competent person 18 years of age or older and a resident of the
                                                      SHERIFF      state of service or the State of Oregon, and that I am not a party to nor an officer, director
   By:                                                             or employee of, nor attorney for any party, corporate or otherwise; that the person, firm or
                                                      DEPUTY
                                                                   corporation served by me is the identical person, firm or corporation named in the action.

                                                                   DATED                                             , 20____ .




                                                                                                                                                             SIGNATURE



                                                                                                                                                     TYPE OR PRINT NAME



                                                                                                                                                               ADDRESS




                                                                                                                                                                 PHONE




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                                           20CV28918


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  3

  4                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

  5                               FOR THE COUNTY OF WASHINGTON

  6    CITY OF BEAYERTON, an Oregon
       municipal corporation,                                                        No. 20CV28918
  7
                                                Plaintiff,            ACCEPTANCE OF SERVICE
  8
                                vs.
  9
        COMCAST OF OREGON II, INC., an
 10     Oregon corporation,

 11                                           Defendant.

 12              I, Mark P. Trinchero, one of the attorneys for defendant Comcast of Oregon II, Inc.
 13    ("Comcast"), hereby acknowledge and accept service as of August 25, 2020 of true copies of
  14   the original Summons and Complaint in this case on behalf of Comcast, and I hereby waive
  15   on behalf of Comcast any and all irregularities regarding that service.
  16
                 DATED this   3 15t.. day of August, 2020.
  17
  18                                           DAVIS WRIGHT TREMAINE LLP

  19
                                               By:
 20                                                              . Trinchero, OSB #883221
                                                               rinchero@dwt.com
 21                                                          Attorneys for Defendant
 22    1038526

 23

  24
  25

  26


Page   1-        ACCEPTANCE OF SERVICE
                                                                                            MARKOWITZ HERBOLD PC
                                                                                            1455 SW BROADWAY, SUITE 1900
                                                                                              PORTLAND, OREGON 97201
                                                                                                    (503) 295-3085
                                                                                                  Fax: (503) 323-9105




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                                                                                                                 Location : Washington Images Help
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                                                         REGISTER OF ACTIONS
                                                               CASE NO. 20CV28918

City of Beaverton vs Comcast of Oregon II, Inc.                             §                          Case Type: Contract
                                                                            §                          Date Filed: 08/20/2020
                                                                            §                            Location: Washington
                                                                            §
                                                                            §


                                                                 PARTY INFORMATION

                                                                                                                       Attorneys
Defendant      Comcast of Oregon II, Inc.


Plaintiff      City of Beaverton                                                                                       Laura Renee Salerno Owens
                                                                                                                        Retained
                                                                                                                       503 295-3085(W)


                                                                                                                       ANNA MARIE JOYCE
                                                                                                                        Retained
                                                                                                                       503 295-3085(W)


                                                                                                                       Anthony Blake
                                                                                                                        Retained
                                                                                                                       503 295-3085 x213(W)


                                                           EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
08/20/2020 Complaint
             Created: 08/20/2020 4:56 PM
08/20/2020 Service
              Comcast of Oregon II, Inc.                           Served                   08/31/2020
             Created: 08/20/2020 4:56 PM
09/01/2020 Proof - Service
             Created: 09/02/2020 8:53 AM
09/01/2020 Summons
             Created: 09/02/2020 8:53 AM


                                                               FINANCIAL INFORMATION



            Plaintiff City of Beaverton
            Total Financial Assessment                                                                                                         884.00
            Total Payments and Credits                                                                                                         884.00
            Balance Due as of 09/03/2020                                                                                                         0.00

08/20/2020 Transaction Assessment                                                                                                               884.00
08/20/2020 xWeb Accessed eFile        Receipt # 2020-515761                               City of Beaverton                                   (884.00)




                                                                                          EXHIBIT 1, Page 13 of 13
https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=32472929                                                  9/3/2020
